                        Case 6:18-bk-06821-KSJ                 Doc 144        Filed 07/05/19          Page 1 of 2
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 18-06821-CCJ
Don Karl Juravin                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-6                  User: lscott                       Page 1 of 1                          Date Rcvd: Jul 03, 2019
                                      Form ID: Dodmc341                  Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 05, 2019.
db             +Don Karl Juravin,   15118 Pendio Drive,   Montverde, FL 34756-3606
aty             Saxton,   PO Box 880,   Winter Park, FL 32790-0880

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 05, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 3, 2019 at the address(es) listed below:
              Aldo G Bartolone, Jr    on behalf of Defendant Don Karl Juravin aldo@bartolonelaw.com,
               aldo.bartolone@gmail.com;aldo@ecf.courtdrive.com
              Aldo G Bartolone, Jr    on behalf of Debtor Don Karl Juravin aldo@bartolonelaw.com,
               aldo.bartolone@gmail.com;aldo@ecf.courtdrive.com
              Bradley M Saxton    on behalf of Trustee Dennis D Kennedy bsaxton@whww.com,
               scolgan@whww.com;scolgan@ecf.courtdrive.com;csmith@whww.com;csmith@ecf.courtdrive.com
              Christopher J Erickson    on behalf of Plaintiff    Federal Trade Commission cerickson@ftc.gov
              David M Landis    on behalf of Creditor   DCS Real Estate Investments, LLC
               dlandis@mateerharbert.com, vbernal@mateerharbert.com
              Dennis D Kennedy    trustee@ddkennedy.com, dkennedy@iq7technology.com
              Lauren M Reynolds    on behalf of Trustee Dennis D Kennedy lreynolds@whww.com, Lwillett@whww.com
              Marc J Randazza    on behalf of Creditor    Opinion Corp. mjr@randazza.com,
               ecf-6898@ecf.pacerpro.com;ecf@randazza.com
              Marc J Randazza    on behalf of Creditor    Consumer Opinion Corp. mjr@randazza.com,
               ecf-6898@ecf.pacerpro.com;ecf@randazza.com
              Michael P Mora    on behalf of Plaintiff    Federal Trade Commission mmora@ftc.gov
              Robyn Marie Severs    on behalf of Creditor    Bella Collina Property Owner’s Association, Inc.
               rsevers@beckerlawyers.com, cofoservicemail@beckerlawyers.com
              United States Trustee - ORL7/13    USTP.Region21.OR.ECF@usdoj.gov
              William C Matthews    on behalf of Creditor    Bella Collina Property Owner’s Association, Inc.
               wmatthews@shutts.com,
               rhicks@shutts.com;mcrosbie@shutts.com;nballante@shutts.com;bpearson@shutts.com
              William C Matthews    on behalf of Creditor    DCS Real Estate Investments, LLC
               wmatthews@shutts.com,
               rhicks@shutts.com;mcrosbie@shutts.com;nballante@shutts.com;bpearson@shutts.com
                                                                                              TOTAL: 14
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[Dodmc341] [Order Denying Motion to Continue 341 Meeting]




                                         ORDERED.
Dated: July 3, 2019




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                   Case No. 6:18−bk−06821−CCJ
                                                                         Chapter 7
Don Karl Juravin
aka Don Adi Juravin



________Debtor*________/

                                 ORDER DENYING MOTION TO
                               CONTINUE MEETING OF CREDITORS
  THIS CASE came on for consideration of the Motion to Continue the 11 U.S.C. § 341
Meeting of Creditors (Doc. No. 139 ), (the "Motion"). The United States Trustee convenes
and presides at the meeting of creditors pursuant to section 341 of the Bankruptcy Code.
This Court is not involved in the scheduling and rescheduling of such meetings.
Accordingly, it is
   ORDERED:
   The Motion is denied without prejudice. Any request to continue or reschedule should be
directed to:
Dennis D Kennedy
P. O. Box 541848
Merritt Island, FL 32954


The Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
